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                                                                           2021 Feb-24 AM 10:07
                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


               13IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

AIRIELLE GREGORY,                      )
f/k/a Scott,                           )
                                       )
     Plaintiff,                        )     Civil Action Number
                                       )     5:21-cv-259-AKK
     v.                                )
                                       )
MEDICREDIT, INC.,                      )
                                       )
     Defendant.                        )

                                   ORDER

     Plaintiff’s Unopposed Motion for Admission Pro Hac Vice of David J.

Philipps and Mary E.Philipps (doc. 3) is GRANTED.



     DONE this 24th day of February, 2021.



                                     ________________________________
                                            ABDUL K. KALLON
                                     UNITED STATES DISTRICT JUDGE
